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                IN THE COURT OF CRIMINAL APPEALS OF THE STATE OF OKLAHOMA

                                                               No. MA-2023-196
     Kennth H Tibbetts,                                        ([Writ of] Mandamus)
        Petitioner,
     v.                                                        Filed: 03/10/2023
     District Court of Beckham County,
        Respondent,
                                                               Appealed from: BECKHAM County District Court


 PARTIES
District Court of Beckham County, Respondent
Tibbetts, Kenneth H, Petitioner



 ATTORNEYS
 Attorney                                                     Represented Parties
 Beckham County District Attorney                             District Court of Beckham County
 P.O. Box 507
 Sayre


 Tibbetts, Kenneth H                                          Tibbetts Kenneth H
 #122414
 P.O. Box 548
 Lexington, OK 73051



 EVENTS
 None


 LOWER COURT COUNTS AND OTHER INFORMATION
 Count         Case Number           Statute   Crime      Sentence        Judge                             Reporter
 -             CF-2015-188           -                                    Weedon, Jill Carpenter


 DOCKET
mount
 Date            Code     Description                                                       EXHIBIT 20
03-10-2023 [ CASE ] Case 5:23-cv-00913-J Document 14-20 Filed 12/29/23 Page 2 of 3
    [WRIT OF] MANDAMUS INITIAL FILING
03-10-2023 [ PAUP ]
    PAUPER AFFIDAVIT FOR TIBBETTS, KENNTH H
03-10-2023 [ PAY ]
    RECEIPT # 85665 ON 03/10/2023.
    PAYOR: KENNTH H TIBBETTS TOTAL AMOUNT PAID: $ 0.00.
    LINE ITEMS:
    $0.00 ON [WRIT OF] MANDAMUS INITIAL FILING.
03-10-2023 [ PETF ]
    PETITION FOR A WRIT OF MANDAMUS
    Document Available (#1054502727) TIFF   PDF
03-21-2023 [ ORDR ]
    JE: ORDER, ROWLAND PJ; COPIES TO HON. MICHELLE KIRBY ROPER, DIST COURT CLERK, AND
    ATTORNEYS; ORDER DIRECTING RESPONSE. THE DIST COURT OF BECKHAM COUNTY, SHALL DETERMINE
    WHETHER PETITIONER HAS FILED THE ABOVE REFERENCED PLEADING. IF NO SUCH REQUEST WAS
    FILED, THE DIST COURT SHALL ADVISE THIS COURT BY MEMORANDUM. IF THE DIST COURT HAS ALREADY
    DISPOSED OF PETITIONER'S REQUEST, A CERTIFIED COPY OF THE DISPOSITION ORDER SHALL BE
    FORWARDED TO THIS COURT AND PETITIONER. IF THE REQUEST WAS FILED AND DISPOSITION HAS NOT
    BEEN MADE, THE DIST COURT SHALL ACT UPON THE REQUEST WITHIN 30 DAYS FROM THE DATE OF THIS
    ORDER, AND FORWARD A CERTIFIED COPY OF THE DISPOSITION ORDER TO THIS COURT, AND
    PETITIONER.
    Document Available (#1054930380) TIFF PDF
03-31-2023 [ TEXT ]
    DIST COURT'S POST-CONVICTION FINDINGS- S/HON. JILL WEEDON
    Document Available (#1054932255) TIFF PDF
03-31-2023 [ TEXT ]
    DIST COURT'S CERTIFICATE OF DELIVERY
    Document Unavailable (#1054932256)
04-18-2023 [ DISN ]
    JE: ORDER; CONCUR: ROWLAND PJ, HUDSON VPJ, LUMPKIN J, LEWIS J, MUSSEMAN J; COPIES TO HON.
    JILL WEEDON, DIST COURT CLERK AND ATTORNEYS; ORDER DISMISSING REQUEST AS MOOT; THE DIST
    COURT FULLY ADJUDICATED PETITIONER'S COMPLAINTS REGARDING THE PENDING MATTERS IN THIS
    CASE. PETITIONER'S REQUEST FOR A WRIT OF MANDAMUS IS THEREFORE MOOT AND IS DISMISSED.
    Document Available (#1054933071) TIFF PDF
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